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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATE OF AMERICA,                      )
                                              )
       Plaintiff,                             )
                                              )
               v.                             ) No. 18 CR 789
                                              ) The Honorable GARY FEINERMAN,
DENY MITROVICH,                               ) Judge Presiding
                                              )
       Defendant.                             )

      DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION TO DISMISS

       The issue in this case is the application of the Due Process clause and the Bill of

Rights Speedy Trial clause to a three and one half year delay. This delay was imposed by

the Government upon movant, absent the Government providing any reason let alone

justification whatsoever. Fortunately for the constitutional rights of the average accused,

this situation is unheard of. Neither party has located or cited a case so egregious.

However, the closest case to these facts, Doggett, infra, indicates dismissal is compelled.

       The principal difficulty with the Government’s Response is its mechanical

application of an indictment as a necessary prerequisite to trigger the Speedy Trial clause.

This ignores the universal language of the cases on the subject, which state the Speedy

Trial clause is triggered not just by arrests and indictments, but by any and all other

“official accusation[s].” This ignores the Speedy Trial clause’s terms which apply to the

“accused.” An arrest is not an essential part of a Speedy Trial analysis. Doggett, 505

U.S. 647, 654 (1992) specifically rejected the need for an arrest to trigger the Speedy

Trial clause. The arrest in Doggett occurred after the defendant’s right to a speedy trial

was denied.
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       Movant has not located a case stating the exact definition of “other official

accusation” within or outside of the language “by arrest, indictment, or other official

accusation…” However, indications are that this includes a search warrant. The

Supreme Court has defined the related phrase “official act” in the context of the federal

bribery statute. McDonnell v. U.S., 136 S.Ct. 2355, 2371, (2016) states “...an ‘official

act’ is a decision or action on a ‘question, matter, cause, suit, proceeding or

controversy’....[which] must involve a formal exercise of government power that is

similar in nature to a lawsuit before a court….” Certainly a search warrant qualifies.

Like a lawsuit before a court, an attorney files a pleading initiating the action. In the case

of a search warrant, the pleading initiating the action requires an affidavit supporting it.

The pleading and affidavit is presented, with a witness, for a judge to review. A formal

court order results from the testimony and affidavit if approved by the judge. The

resulting court order is then implemented by a group of officials whose authority to act as

they do is entirely dependent upon the grant of and the extent of the court order which

authorizes what otherwise would be an illegal act by each and every officer involved.

“Or,” which precedes “other official accusation” generally implies alternatives as held in

U.S. v. Loniello, 610 F.3d 488, 493, (7th Cir. 2010), certiorari denied 563 U.S. 929.

       The accusation, detailed in the search warrant application and issuance by a judge,

involved more “accusation” than a complaint which the Government must concede is a

triggering event. A criminal complaint need not be approved by a judge in a hearing nor

by majority vote of a grand jury, nor need it be as specific. A complaint for a search

warrant specifies in its official accusation exactly what crimes the subject allegedly

committed, just as in a criminal complaint. It continues to detail the specific acts




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involved at great length, much more than is contained within the much later complaint or

indictment. The direct consequence of a complaint or indictment in Federal court is a

defendant may be arrested and when and if defendant is, he or she is usually released

within hours. The direct consequence of the issuance of a search warrant is that

defendant’s home is surrounded by numerous officers, it and his or her person is

searched. The subject, and others present, is detained, and property, including entirely

innocent property, is seized. This takes place in front of neighbors and friends. So it was

in the instant matter. A complaint for a search warrant is nothing less than a criminal

complaint on steroids.

       The truly incredible aspect of the Government’s claim is that there is no

prohibition against their having done nothing in the three and a half years, negating any

and all constitutional imperatives solely because they have in fact done nothing since

causing a search warrant to issue and be executed. Citizens in their viewpoint have no

statutory or constitutional protections whatsoever until indictment. Absent an indictment,

they can do whatever, whenever, if ever, at their convenience.

       That is not just illogical, it is untrue. The Supreme Court and other courts under

its jurisdiction have repeatedly stated there is no requirement for an indictment before the

Bill of Rights applies. In Doggett v. U.S., 505 U.S. 647, 654, 666 (1992), the Supreme

Court rejected the Government’s claims the Speedy Trial Clause was inapplicable,

holding “Once triggered by arrest, indictment, or other official accusation, however, the

speedy trial enquiry must weigh the effect of delay.” “Official bad faith in causing delay

will be weighed heavily against the Government.” As to negligence, “...neither is

negligence automatically tolerable simply because the accused cannot demonstrate




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exactly how it has prejudiced him.”(emp. supp.) Regarding the effect of delay: “One

cannot generally be sure [whether the Government or defendant is] prejudiced more

severely. Thus we generally have to recognize that excessive delay presumptively

compromises the reliability of a trial in ways that neither party can prove or, for that

matter, identify. [The delay] is part of the mix of relevant facts, and its importance

increases with the length of the delay.” Doggett, supra at page 655. See also U.S. v.

Richardson, infra and numerous cases stating triggering the Speedy Trial clause by

“…other official accusation.”

       Note there is nothing in the four part Barker v. Wingo, 407 U.S. 514 (1972) test or

anything intrinsic to the concerns addressed by the Speedy Trial Clause which bar its

application until after the formal issuance of an indictment. The concern is delay. An

indictment is not an essential part of the Doggett, Barker, Marion analyses nor of the

language expressing it. The dismissal of the charges in Doggett did not depend on an

arrest. The time frame was begun without an arrest, and with only an official accusation.

“Invocation of the speedy trial provision need not await indictment, information, or other

formal charge.” U.S. v. Marion, 407 U.S. 307, 321 (1971). In Marion, unlike the present

case, “...the indictment was the first official act designating appellees as accused

individuals…” (emph. supp.) Prior thereto there was no search warrant, no arrest

however brief, and only newspaper articles from the media’s investigation, together with

commentary from a single U.S. attorney suggesting that an indictment may follow.

Obviously, this was no “official act” of accusation by the Government. Obviously,

newspaper articles are not official acts of the Government.




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       U.S. v. Richardson, 780 F.3d 812, 813 (7th Cir. 2015) plainly recognizes the

applicability of the Due Process Clause in the context of Government delay. The

Government does not dispute this, but appeals to this Court to extend the limitations

within the Richardson opinion to the vastly more extreme and different facts herein.

Richardson’s limitations applied to the concurrence of two elements which justified

delay: (1) the Government deferred to a state court prosecution and (2) there was a

continuing investigation by the Government as to which the defendant has no right to

demand “to have the Government wrap up its investigation quickly…”. In the

combination of those two events, the Government has a duty only under the Due Process

clause to step in if the state court prosecution it deferred to “dawdles.” Richardson

represents a very different situation from the present one. It is this Government, not a

state, which dawdled. There was no deference to a state prosecution herein. All there is

in the instant case is extensive delay lacking any justification of whatsoever nature, kind,

or degree. The instant investigation had been wrapped up years before. The limitation in

Richardson, the necessity of a defendant to prove actual prejudice, should not be

extended to place the burden on the defendant to show prejudice from the Government’s

dawdling. The four part test in Wingo v. Barker, is far more appropriate herein. There is

little question, as noted in Richardson, supra, U.S. v. Doerr, 866 F.2d 944 (7th Cir. 1989)

and many others the virtual impossibility of any accused to show actual prejudice. The

constitution contemplates a trial without undue delay. The Due Process clause, and the

Sixth Amendment, are both intended to be an insurmountable obstacle to the Government




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should it intentionally seek delay for its own strategic advantage 1 or neglect a case for

many years.

        The Government cites a Fourth Circuit opinion, U.S. v. Burgess, 684 F.3d 445

(4th Cir. 2012). That opinion should not be extended to this jurisdiction or beyond its

facts. A close examination shows it is simply erroneous on the search warrant issue,

perhaps by the poor quality of Burgess’ brief. Burgess was not present at the search

pursuant to the search warrant, and thus did not experience it. He was arrested later on a

traffic stop by state authorities and taken into state custody. The opinion is not explicit on

the date and time of the arrest, but notes the search warrant was executed March 6, 2008

and he was out on bond by sometime the next day. Burgess failed to appear in the North

Carolina state court on March 28, 2008. As a direct result of his failure to appear, he was

arrested on the state warrant by federal authorities in Virginia, on June 10, 2008 and

returned to North Carolina state custody. While in state custody, on March 17, 2009, a

federal indictment was filed and a federal warrant issued the next day. Five days

thereafter, the federal habeas corpus was issued. On April 14, 2009, Burgess made his

first appearance in federal court, and was transferred at that time to federal custody.

Burgess is another routine case of the Government deferring for a normal duration to a

state prosecution.




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  Mitrovich has no knowledge the Government sought delay for any strategic reason. This is
actually immaterial. It is not his burden to establish the bona-fides of facts known only to the
Government. No defendant is likely to ever be able to establish the delay was for strategic
purposes. Here, the Government has not proposed any justification for or explanation of the
delay. The integrity of the judicial process is brought into question by the delay. There are no
grounds to presume good-faith or mere negligence on the part of the Government when the
Government itself has failed to make any presentation on the issue. The Supreme Court has
ruled that once questionable circumstances are demonstrated, the prosecution has the burden of
proving justification. See, e.g. Batson v. Kentucky, 476 U.S. 79 (1986).


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       The Burgess opinion regarding the search warrant was based upon an appellate

brief which lacked analysis or citation of authority. “Burgess separately asserts that his

Sixth Amendment right to a speedy trial was violated. However, he fails to provide an

analysis supporting this assertion. We review the district court’s legal conclusions on

this issue de novo, and its factual findings for clear error.” Burgess, supra at page 451.

Unfortunately, this hindered the court.

       The Burgess court did not itself analyze the assertion either. The Burgess court

simply cited U.S. v. Woolfolk, 399 F. 3d 590, 597-8 (4th Cir. 2005) as authority for the

proposition “a search warrant does not qualify as a federal ‘accusation.’” Woolfolk says

no such thing! There was no search warrant involved in Woolfolk. Woolfolk was

arrested as he attempted to evade a sobriety checkpoint. The arresting officer concluded

Woolfolk was intoxicated, arrested him, and during a search incident to the arrest,

discovered drugs. Woolfolk, supra at 593. Following termination of the state court

proceedings on April 10, 2003, Woolfolk was not released. It was conceded that he was

held solely from that point because of the federal detainer. The warrant was not a search

warrant. There was none. The warrant was a federal detainer. He was taken formally

into federal custody three months later, on July 10, 2003 and was indicted on August 7.

Woolfolk, supra, at 593-4. Footnote 9 at the end of the Woolfolk opinion makes clear the

contentions made had nothing to do with a search warrant.

“9. Although Woolfolk's motion to dismiss seemed to target the delay from the serving of

the detainer through his impending trial, before this court Woolfolk has centered his Sixth

Amendment claim on the delay between the filing of the complaint, warrant, and detainer




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and his indictment, not between the indictment and trial or even the filing of the

complaint, warrant, detainer and trial.”

          In fact Woolfolk holds the opposite of what Burgess claims. At the pages cited

in Burgess, pages 597-8 of the Woolford opinion, the Woolford court, citing U.S. v

Thomas, 55 F. 3d 144 at 149 (4th Cir. 1995) held a warrant 2 was a triggering event.

“Under Thomas, the filing of the detainer, warrant and complaint on January 9, 2003

triggered Woofolk’s Sixth Amendment speedy trial rights.” Consequently, Woolfolk’s

case was remanded for the full hearing under Barker v. Wingo 407 U.S. 514 (1972).

Burgess is not controlling on the instant matter. It is plainly, demonstrably wrong. It

should not be given any precedential value. If given any precedential value, it should be

limited to its own facts.

          Failure to give the search warrant its due as a triggering event would eliminate the

meaning of the much-repeated phrase “otherwise officially accused.” What else could

the phrase mean, if an executed search warrant is not an official accusation? What is

more of an official accusation than the Governments written, extensive description of the

crime in question?

          Downstairs in this building, as one enters, the Bill of Rights, this critical

document created by our founding fathers, is displayed by our government in a large

brass plaque. Its 475 words define the relationship between the government and the

governed since the inception of our republic.

          There is no case this counsel, or the Government, has located which justifies the

inexplicable three and one half year delay in prosecution. The United States Supreme



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    This appears in context to have been an arrest warrant, not a search warrant.


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Court has repeatedly held that one need not be indicted for the Speedy Trial rights under

the Sixth Amendment to apply.

                                     CONCLUSION

       This cause should be dismissed under both the Sixth Amendment Speedy Trial

clause and the Due Process clause. Both work together to prevent undue delay, solely by

the Government, without any, let alone substantial, justification.

Respectfully submitted,

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